       Case 1-20-42591-las        Doc 87     Filed 12/30/20     Entered 12/30/20 18:30:38




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 In re:
                                                           Chapter 11
 Online King LLC,
                                                           Case No. 20-42591 (LAS)
                               Debtor.




   DECLARATION OF MICHAEL J. GEARIN IN SUPPORT OF AMAZON CAPITAL
    SERVICES, INC.’S JOINDER TO MOTION OF UNITED STATES TRUSTEE TO
                         DISMISS CHAPTER 11 CASE

          Michael J. Gearin, pursuant to 28 U.S.C. § 1746, hereby certifies and declares as follows:


          1.     I am a partner with K&L Gates LLP, counsel for Amazon Capital Services, Inc. in

this case.


          2.     I made discovery requests to the Debtor through counsel, including requests for

copies of the Debtor’s bank statements for 2019 and 2020. The Debtor provided copies of certain

bank statements and provided information regarding the identity of the recipient of certain transfers

from the Debtor’s accounts. In particular, Debtor’s counsel identified the recipient of certain

transfers reflected in the bank statements as It’s a Deal (an entity related to the Debtor). Based

upon our review of the bank statements, we created a summary of the transfers to It’s a Deal.

Attached hereto as Exhibit A is the summary of those transfers which reflects more than $684,000

in transfers from the Debtor’s accounts to It’s a Deal during the period January 1, 2019 through

July 9, 2020.




                                                  1
503895588 v3
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         3.     Attached hereto as Exhibit B. is a true and correct copy of the email from Shalom

Samuels of the offices of Debtor’s counsel attaching the weekly reports of receipts and

disbursements for the weeks of October 25, 2020 and November 1, 2020.


         4. Attached hereto as Exhibit C. is a true and correct copy of my email correspondence

with Debtor’s counsel Joseph Balisok regarding the cash collateral order submitted to the Court

for entry in early November, 2020.


         5. Attached hereto as Exhibit D. is a true and correct copy of the email from Shalom

Samuels of the offices of Debtor’s counsel attaching the Debtor’s summary of disbursements as

compared to budget for the period October 11, 2020 and December 20, 2020.


         I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct to the best of my knowledge.


         EXECUTED this 30th day of December, 2020, at Seattle, Washington.


                                              __/s/ Michael J. Gearin________________

                                              Michael J. Gearin




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          EXHIBIT A
                                  Case 1-20-42591-las    Doc 87   Filed 12/30/20    Entered 12/30/20 18:30:38




                                               SUMMARY OF BANK TRANSFERS
   DATE                Amount           From Bank Account                                     Description of Transfer

1/8/2019             $50,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

2/1/2019             $30,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

4/4/2019             $15,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

4/17/2019            $30,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

5/16/2019            $30,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

9/26/2019            $5,000.00     Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

10/17/2019           $50,000.00    Online King Chase Acct.        Online Domestic Wire Transfer to It’s a Deal

1/14/2020            $50,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

2/19/2020            $15,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

2/24/2020            $60,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

2/26/2020            $25,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

3/3/2020             $50,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

3/16/2020            $60,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

3/26/2020            $15,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

4/1/2020             $80,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account



                                                                      1
      503896341 v2                                                                     November 30, 2020
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4/27/2020              $10,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

4/29/2020              $50,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

5/13/2020              $40,000.00    Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

5/19/2020              $7,000.00     Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

6/23/2020              $5,000.00     Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

6/29/2020              $5,000.00     Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

7/9/2020               $2,000.00     Online King Santander Acct.    Treas. Link Transfer to It’s a Deal Account

Total                  $684,000




                                                                        2
        503896341 v2                                                                     November 30, 2020
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          EXHIBIT B
     Case 1-20-42591-las             Doc 87        Filed 12/30/20   Entered 12/30/20 18:30:38




From:              Gearin, Mike
To:                Lentz, Denise A.
Subject:           FW: Online King - Weekly Reports
Date:              Monday, November 30, 2020 3:57:32 PM
Attachments:       Weekly report Oct 25 and Nov 6.pdf




From: Shalom D. Samuels <shalom@lawbalisok.com>
Sent: Friday, November 06, 2020 7:03 AM
To: Gearin, Mike <michael.gearin@klgates.com>
Cc: Joseph Balisok <joseph@lawbalisok.com>; Sussman, Jeremy S. (USTP)
<Jeremy.S.Sussman@usdoj.gov>; Gerard R. Luckman <gluckman@forchellilaw.com>
Subject: Online King - Weekly Reports


External Sender:

Dear Mike,

Please see attached the weekly expenditure reports.

--
Please feel free to call me if you have any questions.

Thank you for your kind attention to this matter.

Sincerely,

Shalom D. Samuels, Law Clerk
Balisok & Kaufman, PLLC
251 Troy Avenue
Brooklyn, NY 11213
Office (718) 928-9607
Fax (718) 534-9747
shalom@lawbalisok.com

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9:43 AM                                             Online King LLC
11/06/20                                             Profit & Loss
Accrual Basis                               October 25 through November 7, 2020

                                                   Week of Oct 25, 20   Week of Nov 1, 20    TOTAL
                  Ordinary Income/Expense
                       Income
                          Sales                             63,188.24               314.52      63,502.76

                       Total Income                         63,188.24               314.52      63,502.76

                       Cost of Goods Sold
                         Purchases                          30,225.00                 0.00      30,225.00

                       Total COGS                           30,225.00                 0.00      30,225.00

                     Gross Profit                           32,963.24               314.52      33,277.76

                       Expense
                         Bank Service Charges                   50.00                30.00          80.00
                         Shipping and Delivery                   0.00            16,891.40      16,891.40

                       Total Expense                            50.00            16,921.40      16,971.40

                  Net Ordinary Income                       32,913.24           -16,606.88      16,306.36

                Net Income                                  32,913.24           -16,606.88      16,306.36




                                                                                                            Page 1
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          EXHIBIT C
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From:              Gearin, Mike
To:                Lentz, Denise A.
Subject:           FW: Online King LLC, 20-42591 - Proposed Cash Collateral Order
Date:              Monday, November 30, 2020 4:00:52 PM




From: Joseph Y. Balisok, Esq. <joseph@lawbalisok.com>
Sent: Wednesday, November 11, 2020 3:46 PM
To: Gearin, Mike <michael.gearin@klgates.com>; Shalom D. Samuels <shalom@lawbalisok.com>
Subject: Re: Online King LLC, 20-42591 - Proposed Cash Collateral Order [KLG-
USW_Active01.FID874989]


External Sender:

Dear Mike:

I will check with my paralegal but I believe the Order we submitted was the one we agreed on
but the Court chose to make modifications to the form submitted.

I will double-check tomorrow.

I apologize if it was in error.

On Wed, Nov 11, 2020 at 1:53 PM Gearin, Mike <michael.gearin@klgates.com> wrote:

  Joe:

  I have just had an opportunity to review the cash collateral order that you submitted to the court
  (attached). It is not the form of order that you circulated and contrary to your representations to
  me, does not address the comments that I provided you on October 22 (email string below). This
  order needs to be amended to reflect the proper budget and timeframe for the authority to use
  cash collateral. The budget period is October 22, 2020 through January 7, 2021. The monthly
  budget is the same as the prior order. The order that was filed with the court incorrectly indicates
  monthly expenditures of $126K. The budget should reflect monthly expenditures of $45,200.

  Thank you for your attention to correcting this.




  Michael J. Gearin
  K&L Gates LLP
  925 Fourth Avenue, Suite 2900
  Seattle, WA 98104
  (206) 370-6666 Direct
  (206) 940-2500 Mobile
  michael.gearin@klgates.com
  Case 1-20-42591-las           Doc 87   Filed 12/30/20    Entered 12/30/20 18:30:38




From: Gearin, Mike
Sent: Thursday, October 22, 2020 4:44 PM
To: 'Shalom D. Samuels' <shalom@lawbalisok.com>; Gerard R. Luckman
<gluckman@forchellilaw.com>; Sussman, Jeremy S. (USTP) <Jeremy.S.Sussman@usdoj.gov>;
kewerner@vorys.com
Cc: Joseph Balisok <joseph@lawbalisok.com>
Subject: RE: Online King LLC, 20-42591 - Proposed Cash Collateral Order [KLG-
USW_Active01.FID874989]

Ms. Werner and Gentlemen:

        Attached in redline are Amazon’s comments to the proposed cash collateral order. The
budget should be revised to reflect monthly amounts as was done with the prior order, with a
proration for the period 12/22 to 1/7.

Thank you




Michael J. Gearin
K&L Gates LLP
925 Fourth Avenue, Suite 2900
Seattle, WA 98104
(206) 370-6666 Direct
(206) 940-2500 Mobile
michael.gearin@klgates.com




From: Shalom D. Samuels <shalom@lawbalisok.com>
Sent: Thursday, October 22, 2020 10:16 AM
To: Gearin, Mike <michael.gearin@klgates.com>; Gerard R. Luckman
<gluckman@forchellilaw.com>; Sussman, Jeremy S. (USTP) <Jeremy.S.Sussman@usdoj.gov>;
kewerner@vorys.com
Cc: Joseph Balisok <joseph@lawbalisok.com>
Subject: Online King LLC, 20-42591 - Proposed Cash Collateral Order

Good afternoon,

Please see attached the proposed Order. Kindly advise as to any revisions necessary.

Please also see attached the proposed budget. The budget was calculated by dividing the
monthly income/expenses by 30 (days) then multiplying by the 84 days of the budget.
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     --
     Please feel free to call me if you have any questions.

     Thank you for your kind attention to this matter.

     Sincerely,

     Shalom D. Samuels, Law Clerk
     Balisok & Kaufman, PLLC
     251 Troy Avenue
     Brooklyn, NY 11213
     Office (718) 928-9607
     Fax (718) 534-9747
     shalom@lawbalisok.com

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Please feel free to call me if you have any questions.

Thank you for your kind attention to this matter.

Sincerely,

Joseph Y. Balisok, Esq.
Balisok & Kaufman, PLLC
251 Troy Avenue
Brooklyn, NY 11213
Office (718) 928-9607
Fax (718) 534-9747
joseph@lawbalisok.com
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    EXHIBIT D
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11:20 AM                                                   Online King LLC
10/23/20                                                   Profit & Loss
Accrual Basis                                              October 1 - 23, 2020

                                    Oct 1 - 3, 20          Week of Oct 4, 20     Week of Oct 11, 20    Oct 18 - 23, 20      TOTAL

  Ordinary Income/Expense
       Income
           Sales                                    0.00                 21.89             19,464.81                34.10      19,520.80

           Total Income                             0.00                 21.89             19,464.81                34.10      19,520.80

      Gross Profit                                  0.00                 21.89             19,464.81                34.10      19,520.80

           Expense
             Bank Service Charges                   0.00                  0.00                  0.00                30.00            30.00

           Total Expense                            0.00                  0.00                  0.00                30.00            30.00

  Net Ordinary Income                               0.00                 21.89             19,464.81                 4.10      19,490.80

Net Income                                          0.00                 21.89             19,464.81                 4.10      19,490.80




                                                                                                                                    Page 1
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9:43 AM                                             Online King LLC
11/06/20                                             Profit & Loss
Accrual Basis                               October 25 through November 7, 2020

                                                   Week of Oct 25, 20   Week of Nov 1, 20    TOTAL
                  Ordinary Income/Expense
                       Income
                          Sales                             63,188.24               314.52      63,502.76

                       Total Income                         63,188.24               314.52      63,502.76

                       Cost of Goods Sold
                         Purchases                          30,225.00                 0.00      30,225.00

                       Total COGS                           30,225.00                 0.00      30,225.00

                     Gross Profit                           32,963.24               314.52      33,277.76

                       Expense
                         Bank Service Charges                   50.00                30.00          80.00
                         Shipping and Delivery                   0.00            16,891.40      16,891.40

                       Total Expense                            50.00            16,921.40      16,971.40

                  Net Ordinary Income                       32,913.24           -16,606.88      16,306.36

                Net Income                                  32,913.24           -16,606.88      16,306.36




                                                                                                            Page 1
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11:57 AM                                            Online King LLC
11/13/20                                            Profit & Loss
Accrual Basis                                      November 8 - 14, 2020

                                                                               Week of Nov 8, 20
                     Ordinary Income/Expense
                          Income
                             Sales                                                            26,462.85

                          Total Income                                                        26,462.85

                          Cost of Goods Sold
                            Purchases                                                         25,400.00

                          Total COGS                                                          25,400.00

                        Gross Profit                                                           1,062.85

                          Expense
                            Bank Service Charges                                                   50.00

                          Total Expense                                                            50.00

                     Net Ordinary Income                                                       1,012.85

                   Net Income                                                                  1,012.85




                                                                                                           Page 1
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11:58 AM                                        Online King LLC
11/25/20                                         Profit & Loss
Accrual Basis                                  November 15 - 21, 2020

                                                                          Week of Nov 15, 20
                     Ordinary Income/Expense
                          Income
                             Sales                                                             637.00

                          Total Income                                                         637.00

                        Gross Profit                                                           637.00

                     Net Ordinary Income                                                       637.00

                   Net Income                                                                  637.00




                                                                                                        Page 1
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10:56 AM                                        Online King LLC
11/27/20                                         Profit & Loss
Accrual Basis                                  November 22 - 28, 2020

                                                                                   TOTAL
                     Ordinary Income/Expense
                          Income
                             Sales                                                    18,570.56

                          Total Income                                                18,570.56

                       Gross Profit                                                   18,570.56

                     Net Ordinary Income                                              18,570.56

                   Net Income                                                         18,570.56




                                                                                                    Page 1
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10:54 AM                                   Online King LLC
12/04/20                                   Profit & Loss
Accrual Basis                     November 29 through December 5, 2020

                                                          Week of Nov 29, 20
                   Net Income                                                     0.00




                                                                                            Page 1
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11:33 AM                                            Online King LLC
12/11/20                                            Profit & Loss
Accrual Basis                                      December 6 - 12, 2020

                                                                               Week of Dec 6, 20
                     Ordinary Income/Expense
                          Income
                             Sales                                                             1,634.42

                          Total Income                                                         1,634.42

                          Cost of Goods Sold
                            Purchases                                                         33,800.00

                          Total COGS                                                          33,800.00

                        Gross Profit                                                         -32,165.58

                          Expense
                            Bank Service Charges                                                   30.00

                          Total Expense                                                            30.00

                     Net Ordinary Income                                                     -32,195.58

                   Net Income                                                                -32,195.58




                                                                                                           Page 1
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11:04 AM                                  Online King LLC
12/18/20                                   Profit & Loss
Accrual Basis                            December 13 - 19, 2020

                                                           Week of Dec 13, 20
                   Net Income                                                       0.00




                                                                                              Page 1
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12:18 PM                                            Online King LLC
12/25/20                                             Profit & Loss
Accrual Basis                                      December 20 - 26, 2020

                                                                               Week of Dec 20, 20
                     Ordinary Income/Expense
                          Income
                             Sales                                                                  12.74

                          Total Income                                                              12.74

                          Cost of Goods Sold
                            Purchases                                                          36,250.00

                          Total COGS                                                           36,250.00

                        Gross Profit                                                          -36,237.26

                          Expense
                            Bank Service Charges                                                    60.00

                          Total Expense                                                             60.00

                     Net Ordinary Income                                                      -36,297.26

                   Net Income                                                                 -36,297.26




                                                                                                            Page 1
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              Revenue        Inventory      Fees
 10/11/2020   $ 19,464.81    $         -    $       -
 10/18/2020   $      34.10   $         -    $     30.00
 10/25/2020   $ 63,188.24    $ 30,225.00    $     50.00
  11/1/2020   $     314.52   $         -    $ 16,921.40
  11/8/2020   $ 26,462.85    $ 25,400.00    $     50.00
 11/15/2020   $     637.00   $         -    $       -
 11/22/2020   $ 18,570.56    $         -    $       -
 11/29/2020   $        -     $         -    $       -
  12/6/2020   $ 1,634.42     $ 33,800.00    $     30.00
 12/13/2020   $        -     $         -    $       -
 12/20/2020   $      12.74   $ 36,250.00    $     60.00
Actual        $ 130,319.24   $ 125,675.00   $ 17,141.40
Projected     $ 140,000.00   $ 112,000.00   $ 14,000.00
